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  EXHIBIT B
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Fair Fight vs Raffensperger             Lauren Groh-Wargo                        09/16/2019


   1                          UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
   2                                ATLANTA DIVISION

   3      FAIR FIGHT ACTION,             et           )
          al.,                                        )
   4                                                  )
                Plaintiffs,                           )
   5                                                  )
          vs.                                         )       CIVIL ACTION NO.
   6                                                  )
          BRAD RAFFENSPERGER, in                      )       l:18-CV-05391-SCJ
   7      his official Capacity as                    )
          Secretary of State of                       )
   8      Georgia; et al. ,                           )
                                                      )
   9            Defendants.                           )

 10

 11        THIS DEPOSITION CONTAINS INFORMATION DESIGNATED
               CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER
 12

 13                       DEPOSITION OF LAUREN GROH-WARGO

 14                                (Taken by Defendants)

 15                                 September 16,           2019

 16                                        10:05 a.m.

  17

  18

  19

  20                                   Suite 1650
                               1180 West Peachtree Street
  21                                Atlanta, Georgia

  22

  23

  24

  25        Reported by:             Debra M.      Druzisky,       CCR-B-1848



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   1      more informative presentations where you're telling
   2      people about Fair Fight, either Action or Inc.?
   3              A.     I don't -- I haven't used it in some
   4      time.
   5              Q.     Okay.
   6              A.     So I honestly don't recall the ways I
   7      used it.            This says it's in December.
   8              Q.     Okay.       If you can turn to slide eight,
   9      which is the one entitled Our Barrier.                        The heading
 10       under Our Barrier is A Remarkable Architecture of
 11       Voter Suppression, and the first bullet is:
 12                       "1.6 million voters purged between
 13                2010 and 2018."
 14                      Do you see that?
 15               A.      I do.
  16               Q.     Is it your personal opinion that all of
  17      those voters that were purged should not have been,
  18      or were there some that were within that group that
  19      were,      in fact,       ineligible to vote?
  20               A.     I don't know the answer to that.
  21               Q.     Okay.      All right.          And then the 53,000
  22      voters in the two-down bullet point held by "exact
  23      match," where did that number come from?
  24               A.     I don't recall.             But I do believe that
  25      was a number reported in the press.


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